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                         EXHIBIT 1
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                                                                            15% Indirect   05/27/25
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                               NSF is temporarily pausing implementation of the NSF Policy Notice: Implementation of…



                 Policies and Procedures


                 Policy Notice: Implementation of Standard 15%
                 Indirect Cost Rate



                    This policy document contains current agency information.

                    Publication number: NSF 25-034




                 Published: May 2, 2025


                 Issuance Date:
                 May 2, 2025


                 Effective Date:
                 May 5, 2025


                 Subject:

                                                                                                                               Feedback
                 Adoption of Standard 15% Indirect Cost Rate for NSF Grants and Cooperative Agreements awarded
                 to Institutions of Higher Education (IHEs)


                 Applies To:
                 All new NSF financial assistance awards and subawards

                 The U.S. National Science Foundation (NSF) is updating its policy regarding the reimbursement of
                 indirect costs in federally funded financial assistance. This change is intended to streamline funding
                 practices, increase transparency, and ensure that more resources are directed toward direct
                 scientific and engineering research activities.


                 Policy Summary
                 Effective May 5, 2025, NSF will apply a standard indirect cost rate not to exceed 15% to all grants and
                 cooperative agreements awarded to IHEs for which indirect costs are allowable.[1] The awardee is
                 authorized to determine the appropriate rate up to this limit.




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                 This Policy Notice serves as public notification of the policies, procedures and general decision-
                 making criteria that NSF has used to justify deviation from negotiated rates for all awards in
                 accordance with 2 CFR 200.414(c) for the class of NSF financial assistance awarded to IHEs.


                 Background
                 Indirect costs support the infrastructure and administrative functions necessary for the conduct of
                 federally supported research. These may include but are not limited to:

                         Building and equipment depreciation
                         Operations and maintenance

                         General administration, including human resources, finance, and compliance offices


                 Rationale
                 This policy supports NSF’s commitment to:

                         Efficiency: Reducing administrative burdens for awardee institutions.
                         Consistency: Ensuring consistent treatment of all IHE financial assistance recipients.

                         Effectiveness: Increasing the proportion of federal funds allocated to direct research costs.

                 This policy allows NSF and its awardees to focus more on scientific progress and less on
                 administrative overhead by aligning with common federal benchmarks. Applying a standard indirect
                 cost rate also improves government efficiency by eliminating the need for individualized indirect cost
                 negotiations.


                 Implementation
                         NSF funding opportunities issued after May 5, 2025, will include notice of this indirect cost
                         rate policy to ensure public awareness.

                         The 15% rate maximum applies only to new awards made to IHEs on or after May 5, 2025.
                         Recipients must use a rate no greater than 15% of modified total direct costs (MTDC), as
                         defined in 2 CFR 200.1.

                         This policy does not apply retroactively to existing awards.
                         Institutions are not required to amend budgets for awards issued before this effective
                         date, nor will they be required to return previously reimbursed indirect costs.
                         Award supplements that are effectuated via amendments to awards in existence prior to
                         May 5, 2025, are not subject to this policy.
                         Continuing grant increments are awarded under the original award terms and conditions;
                         continuing grant awards in existence prior to May 5, 2025, are not subject to this policy.

                 This Policy Notice takes precedence over inconsistent policies and procedures set forth in the
                 NSF Proposal & Award Policies & Procedures Guide for all financial assistance issued after the
                 effective date.

                 NSF will update relevant grant policy documents and FAQs to reflect this change. Additional guidance
                 will be provided through NSF’s Policy Office and outreach events.


                 Contact Information




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                 For questions or further clarification, please contact:

                 NSF Policy Office
                 Email: policy@nsf.gov




                 1. Institutions of Higher Education are defined at 2 CFR 200.1 with a reference to 20 U.S.C. 1001.




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